      Case 4:18-cv-00297-CLM-JHE Document 28 Filed 09/18/20 Page 1 of 2                    FILED
                                                                                  2020 Sep-18 PM 03:51
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

YAGENDRA TILIJA,                           )
                                           )
       Petitioner,                         )
                                           )
v.                                         )   Case No.: 4:18-cv-00297-CLM-
                                           )   JHE
WILLIAM P. BARR, et al.,                   )
                                           )
       Respondents.                        )

                          MEMORANDUM OPINION

      The magistrate judge entered a Report and Recommendation, (doc. 25),

recommending that Respondents’ motion to dismiss, (doc. 24), be granted, and the

petition for writ of habeas corpus be dismissed as moot.          Petitioner filed no

objections. The court has considered the entire file in this action, together with the

report and recommendation, and has independently concluded that the report and

recommendation is due to be adopted and approved.

      So the court adopts and approves the findings and recommendation of the

magistrate judge as the findings and conclusions of this court. The petition for writ

of habeas corpus is DISMISSED as moot. A separate Order will be entered.

      DONE and ORDERED this 18th day of September, 2020.


                                    _________________________________
                                    COREY L. MAZE
                                    UNITED STATES DISTRICT JUDGE
Case 4:18-cv-00297-CLM-JHE Document 28 Filed 09/18/20 Page 2 of 2




                                  2
